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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

ASBESTOS DISEASE AWARENESS
ORGANIZATION, et. al,

                     Petitioners,

               v.                                  No. 21-70160

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY and MICHAEL
REGAN, Administrator, U.S.
Environmental Protection Agency,

                     Respondents.



                       STATUS REPORT PURSUANT TO
                    THE COURT’S OCTOBER 28, 2021 ORDER

      Respondents U.S. Environmental Protection Agency and Michael Regan,

Administrator, U.S. Environmental Protection Agency (together, “EPA”) submit

this status report pursuant to this Court’s October 28, 2021 Order. See Docket

Entry 20.

      1.       At dispute is determinations of no unreasonable risk made in EPA’s

“Risk Evaluation for Asbestos Part 1: Chrysotile Asbestos,” issued pursuant to

section 6(b) of the Toxic Substances Control Act (“TSCA”), 15 U.S.C. § 2605(b).

      2.       Before merits briefing began, the parties reached an agreement

resolving this petition for review. Under the agreement, the parties jointly moved
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for the Court to hold this case in abeyance while EPA develops Part 2 of the risk

evaluation for asbestos.

      3.       Under the agreement, EPA agreed, in part, to issue a draft scoping

document for the Part 2 risk evaluation in accordance with 15 U.S.C. §

2605(b)(4)(D) and 40 C.F.R. § 702.41(c). Subsequent to finalizing the scope

document, EPA will develop Part 2 of the risk evaluation for asbestos.

      4.       In the parties’ joint motion to hold the case in abeyance, see Docket

Entry 19, EPA estimated that it would publish a draft scope document for Part 2 of

the risk evaluation for asbestos by December 31, 2021; and the final scope

document by June 30, 2022.

      5.       EPA published the draft scope document for Part 2 of the risk

evaluation on December 29, 2021. See 86 Fed. Reg. 74,088 (Dec. 29, 2021). On

February 10, 2022, EPA extended the end of the public comment period for the

draft scope document from February 14, 2022 until March 1, 2022. See 87 Fed.

Reg. 7,833 (Feb. 10, 2022). EPA published the final scope document on June 29,

2022. See 87 Fed. Reg. 38,746 (June 29, 2022).

      6.       On August 2, 2023, EPA released a whitepaper titled “White Paper:

Quantitative Human Health Approach to be Applied in the Risk Evaluation for

Asbestos Part 2 – Supplemental Evaluation including Legacy Uses and Associated




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Disposals of Asbestos.” EPA provided a 60-day comment period on the

whitepaper, which ran from August 3, 2023 through October 2, 2023.

      7.       The whitepaper, final questions identifying the scientific and technical

issues on which EPA would like feedback, and public comments received by

October 2, 2023 will be provided to peer reviewers for consideration. The letter

peer review is expected to begin October 25, 2023, and end November 24, 2023.

Feedback from the letter peer review will be considered by EPA in the

development of the Part 2 risk evaluation for asbestos, a draft of which will be

released subsequently for public comment, along with a separate response

document to comments on the whitepaper.

8.    EPA’s next status report to this Court is due on April 8, 2023. See Docket

Entry 20.




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Dated: October 10, 2023               Respectfully submitted,



                                      /s/ Jeffrey Hughes
                                      Jeffrey Hughes
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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Status Report was electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification

of said filing to the attorneys of record for Petitioners and all other parties, who

have registered with the Court’s CM/ECF system.

      So certified this 10th day of October, 2023 by

                                               /s/ Jeffrey Hughes
                                               Jeffrey Hughes
                                               Counsel for Respondents
